          Case 2:17-cv-00106-RSM Document 41 Filed 02/22/18 Page 1 of 5




1                                                                   Honorable Ricardo S. Martinez

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7                            UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF WASHINGTON AT SEATTLE
8
      ROBERT BOULE,
9                                                      No. 2:17-cv-00106-RSM
                            Plaintiff,
10                                                     DECLARATION OF NIKKI C. CARSLEY
             v.                                        IN SUPPORT OF AGENT EGBERT’S
11                                                     MOTION TO COMPEL
      ERIK EGBERT and JANE DOE EGBERT
12    and their marital community,                     NOTED FOR CONSIDERATION:
                                                       March 9, 2018
13                          Defendants.

14
      ERIK EGBERT,
15
                            Counterclaimant,
16
             v.
17
      ROBERT BOULE,
18
                            Counterdefendant.
19

20          I declare under penalty of perjury under the laws of the United States that I am over the

21   page of 18 and am otherwise competent to testify, and that the following is true and correct.

22          1.      I am one of the attorneys for Agent Egbert in this matter.

23
                                                                                 LAW OFFICES OF
      DECLARATION OF NIKKI C. CARSLEY IN SUPPORT                        MILLS MEYERS SWARTLING P.S.
      OF AGENT EGBERT’S MOTION TO COMPEL                                  1000 SECOND AVENUE, 30TH FLOOR
      (No. 2:17-cv-00106-RSM) - 1                                           SEATTLE, WASHINGTON 98104
                                                                             TELEPHONE (206) 382-1000
                                                                             FACSIMILE (206) 386-7343
          Case 2:17-cv-00106-RSM Document 41 Filed 02/22/18 Page 2 of 5




1           2.      Attached as Exhibit A is a copy of Mr. Boule’s Amended Initial Disclosure,

2    which was served on August 3, 2017. As a courtesy to protect privacy, my office redacted the

3    contact information of persons listed therein. On August 4, 2017, my office received the

4    documents referenced in the Amended Initial Disclosure.

5           3.      Attached as Exhibit B is a copy of Agent Egbert’s First Set of Interrogatories

6    and Requests for Production to Robert Boule, which were served on August 8, 2017.

7           4.      Attached as Exhibit C is a copy of Mr. Boule’s discovery responses, which

8    were served on October 9, 2017. My office has redacted Mr. Boule’s date of birth and Social

9    Security number consistent with FRCP 5.2 and LCR 5.2. As a courtesy to further protect his

10   privacy, my office redacted his home address, telephone number, and e-mail address. My office

11   also redacted contact information for Mr. Boule’s employees as a courtesy to protect their

12   privacy.

13          5.      Attached as Exhibit D is a copy of a letter my office sent Mr. Boule’s attorneys

14   on January 26, 2018, requesting supplementation of Plaintiff’s incomplete initial disclosure

15   and discovery responses. I also requested a discovery conference to discuss the requested

16   supplementation. Mr. Boule’s attorneys agreed to confer at the suggested time.

17          6.      On January 31, 2018, I conferred by phone with Mr. Boule’s attorneys

18   regarding these discovery issues.

19          7.      Attached as Exhibit E is a copy of a letter my office sent Mr. Boule’s attorneys

20   on February 5, 2018, which memorializes our January 31 discovery conference, including the

21   supplementation Mr. Boule’s attorneys agreed to provide. Mr. Boule’s attorneys didn’t contest

22   my summary of our conversation. The letter’s enclosures aren’t included.

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                                                                                 LAW OFFICES OF
      DECLARATION OF NIKKI C. CARSLEY IN SUPPORT                        MILLS MEYERS SWARTLING P.S.
      OF AGENT EGBERT’S MOTION TO COMPEL                                 1000 SECOND AVENUE, 30TH FLOOR
      (No. 2:17-cv-00106-RSM) - 2                                          SEATTLE, WASHINGTON 98104
                                                                             TELEPHONE (206) 382-1000
                                                                             FACSIMILE (206) 386-7343
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1            8.     Attached as Exhibit F is a copy of a letter I received from Mr. Boos on February

2    7, 2018, which provided some of the supplementation agreed upon during the January 31

3    discovery conference. As a courtesy to protect privacy, my office redacted the contact

4    information listed therein.

5            9.     Attached as Exhibit G is a letter I sent to Mr. Boos on February 8, 2018, in

6    response to his February 7 letter. This letter requests further information about the

7    supplementation Mr. Boos provided the day before. As a courtesy to protect privacy, my office

8    redacted the contact information listed therein.

9            10.    Attached as Exhibit H is a letter I received from Mr. Boos on February 13,

10   2018, which provided more of the supplementation agreed upon during the January 31

11   discovery conference. My office has redacted information from this letter that Mr. Boule has

12   designated as confidential under the Protective Order (Dkt. 16).

13           11.    On February 22, 2018, I again conferred by phone with Breean Beggs, one of

14   Boule’s attorneys. Agent Egbert narrowed the scope of this motion based on Mr. Beggs’

15   representations that: (1) Mr. Boule is not claiming any medical visits are related to the incident

16   other than those listed on pages 3–4 of Exhibit H; and (2) all injuries, medical conditions, and

17   exacerbated conditions that Mr. Boule alleges resulted from the incident have resolved.

18           12.    Attached as Exhibit I is a letter I received from Mr. Beggs on February 22 after

19   our call.

20           13.    To date my office has collected over 1000 pages of medical records pursuant to

21   a release Mr. Boule signed authorizing us to do so. My office has been unable to locate chart

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                                                                                   LAW OFFICES OF
      DECLARATION OF NIKKI C. CARSLEY IN SUPPORT                          MILLS MEYERS SWARTLING P.S.
      OF AGENT EGBERT’S MOTION TO COMPEL                                    1000 SECOND AVENUE, 30TH FLOOR
      (No. 2:17-cv-00106-RSM) - 3                                             SEATTLE, WASHINGTON 98104
                                                                               TELEPHONE (206) 382-1000
                                                                               FACSIMILE (206) 386-7343
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1    notes referencing some of the injuries and medical conditions Mr. Boule contends were caused

2    by Agent Egbert.

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J            14.     Pursuant    to FRCP 37(a)(l),   I certify that I   conferred    in good faith with
4    Plaintiff s counsel in an attempt to obtain the information missing from his initial disclosure

5    and discovery responses without couft action.

6           Signed this 22nd day of February 2018 at Seattle, Washington.

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                                                           N   C. Carsley
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                                                                                      LAW OFFICES OF
     DECLARATION OF NIKKI C. CARSLEY IN SUPPORT                            MIIIs    MEYERS SWARTLING P.S.
     OF AGENT EGBERT'S MOTION TO COMPEL                                     I   000 S¡coNo AvENUE, 30rH FLooR
     (No. 2: I 7-cv-00 106-RSM) - 4                                              SeerrL¡, WasulNcroN 98104
                                                                                  TELEPHONE (206) 382_l 000
                                                                                  FACSTMILE (206) 386_7343
          Case 2:17-cv-00106-RSM Document 41 Filed 02/22/18 Page 5 of 5




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                                   CERTIFICATE OF SERVICE
2           I certify that I electronically filed the foregoing document with the Clerk of the Court
3    using the CM/ECF system which will send notification of such filing to:

4           Breean Lawrence Beggs: bbeggs@pt-law.com, hhoffman@pt-law.com, lswift@pt-

     law.com
5
            Gregory Donald Boos: gdboos@cascadia.com
6
            W. Scott Railton: srailton@cascadia.com
7
            I further certify that I mailed a true and correct copy of the foregoing to the following
8
     non-CM/ECF participants by U.S. Mail:
9           N/A

10          DATED: February 22, 2018

11
                                                   s/Anna Armitage
12                                                 Anna Armitage

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                                                                                  LAW OFFICES OF
      DECLARATION OF NIKKI C. CARSLEY IN SUPPORT                         MILLS MEYERS SWARTLING P.S.
      OF AGENT EGBERT’S MOTION TO COMPEL                                  1000 SECOND AVENUE, 30TH FLOOR
      (No. 2:17-cv-00106-RSM) - 5                                           SEATTLE, WASHINGTON 98104
                                                                              TELEPHONE (206) 382-1000
                                                                              FACSIMILE (206) 386-7343
